Case 1:23-cv-21377-DPG Document 73 Entered on FLSD Docket 09/29/2023 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division


    PRESIDENT DONALD J. TRUMP,                                           Case No.: 23-cv-21377-DPG

                            Plaintiff,

              v.

    MICHAEL D. COHEN,

                            Defendant.


        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S PROPOSED
        ORDER ON PLAINTIFF’S REQUEST TO RESCHEDULE HIS DEPOSITION

         Plaintiff, Donald J. Trump, by and through undersigned counsel, hereby submits his

  response in opposition to Defendant’s proposed Order on Plaintiff’s Request to Reschedule his

  Deposition, and in support thereof states as follows:

         1.        At the hearing before Magistrate Torres on September 28, 2023, Plaintiff requested

  that the deposition of the Plaintiff be re-scheduled from the present date of October 3, 2023 given

  that the trial in the action filed by the New York Attorney General against Plaintiff was scheduled

  to commence on October 2, 2023.

         2.        As more fully set forth in the record, Defendant’s counsel objected to re-scheduling

  the deposition, but stated that if the Court were inclined to permit the deposition of the Plaintiff to

  be rescheduled, they would agree to proceed on October 8, 2023.

         3.        At that time, Plaintiff’s counsel inquired whether October 9, 2023 would be an

  option for the deposition. In making that suggestion, Plaintiff’s counsel had not spoken to Plaintiff

  as to his availability on that date but simply wanted to inquire of as many dates as possible before

  he spoke to Plaintiff.

                                                    1
Case 1:23-cv-21377-DPG Document 73 Entered on FLSD Docket 09/29/2023 Page 2 of 4




         4.      Defendant’s counsel, Benjamin Brodsky, stated that October 9, 2023 was not an

  option because he was unavailable.

         5.      The Court then directed Plaintiff to confer with Plaintiff as to whether he preferred

  to proceed with his deposition on October 3, 2023 or October 8, 2023.

         6.      Faced with either proceeding with the deposition on October 3, 2023 or October 8,

  2023, which were the only two dates being offered, Plaintiff elected to proceed on October 8, 2023.

         7.      During that conference, October 9, 2023 was not discussed with Plaintiff since it

  was not an option for Defendant’s counsel.

         8.      On September 29, 2023, Defendant’s counsel stated that they preferred to proceed

  on October 9, 2023 for the deposition because “it was better” for Defendant’s counsel, Ms. Perry.

  See Exhibit A. This statement runs counter to what was expressly stated to the Court during the

  hearing on September 28, 2023, wherein Ms. Perry, who was in attendance by phone, could have

  articulated any scheduling conflicts at that time. Tellingly, she did not express any issues with the

  proposed October 8, 2023 date.

         9.      After receiving such a notification from Defendant’s counsel, Plaintiff’s counsel

  advised that Plaintiff had a scheduling conflict on October 9, 2023, but proposed that the deposition

  proceed on October 8, 2023 (the date that Defendant initially agreed to) or October 15, 2023.

         10.     Plaintiff is now being asked to choose between two equally conflicting dates: (a)

  October 3, 2023, or (b) October 9, 2023.

         11.     To be clear, neither date is available for Plaintiff.

         12.     As such, Plaintiff maintains his objection over being required to make such a

  selection of two equally conflicting dates, especially when another date (which Defendant




                                                    2
Case 1:23-cv-21377-DPG Document 73 Entered on FLSD Docket 09/29/2023 Page 3 of 4




  proposed) has been removed from the equation simply because of a preference in Defendant’s

  counsel’s schedule rather than an actual conflict.

         13.     Plaintiff simply cannot attend the deposition in this action on October 3, 2023 given

  the trial that is taking place in New York, which only leaves one date available for the deposition,

  which is equally problematic for the Plaintiff given prior commitments that he has, including pre-

  arranged travel plans on that date.

         14.     Without waiving his objections, Plaintiff is left with no alternative but to decline

  the October 3, 2023 option for his deposition and allow Defendant to proceed with scheduling the

  deposition on October 9, 2023 (over objection).

         15.     Separately, Plaintiff objects to the language in the proposed Order relating to the

  fees that would be borne as a result of the re-scheduling of the deposition.

         16.     At the September 28, 2023 hearing, Plaintiff agreed to pay reasonable out of pocket

  costs incurred in re-scheduling the deposition, not attorney’s fees.

  Dated: September 29, 2023                     Respectfully submitted,
                                                BRITO, PLLC
                                                Counsel for Plaintiff
                                                2121 Ponce de Leon Boulevard
                                                Suite 650
                                                Coral Gables, FL 33134
                                                Office: 305-614-4071
                                                Fax: 305-440-4385

                                                By: /s/ Alejandro Brito______
                                                        ALEJANDRO BRITO
                                                        Florida Bar No. 098442
                                                        Primary email: abrito@britopllc.com
                                                        Secondary email: apiriou@britopllc.com




                                                    3
Case 1:23-cv-21377-DPG Document 73 Entered on FLSD Docket 09/29/2023 Page 4 of 4




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 29, 2023 the foregoing was served via the
  Court’s

  CM/ECF System upon:

  Benjamin H. Brodsky, Esq.
  Max Eichenblatt, Esq.
  Brodsky, Fotiu-Wojtowicz, PLLC
  200 SE 1st Street, Suite 400
  Miami, Florida 33131
  bbrodsky@bfwlegal.com
  max@bfwlegal.com
  docketing@bfwlegal.com

  Counsel for Defendant

  Danya Perry, Esq. (Pro Hac Vice)
  E. Danya Perry, PLLC
  157 East 86th Street
  4th Floor
  New York, NY 10028
  Dperry@danyaperrylaw.com

  Counsel for Defendant

                                        By: /s/ Alejandro Brito




                                           4
